Case 1:04-cV-01269-.]DB-tmp Document 14 Filed 06/09/05 Page 1 of 3 Page|D 8

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lN THE UNITED STATES DISTRICT COURT "`""' D'C~
FOR THE WES'I`ERN DISTRICT OF TENNESSEE 05 JUN _.9 FH
EASTERN DIVISION li" 35
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,Yt§`"’*;i U`é=:. L;§t”§"”§-:'O
RONALD BROWN, ) ` " ii ~U~H=a:.s'
)
Plaintiff, )
)
vs. ) Civil Action No.: 1:04-1269
)
PRISON REALTY TRUST, INC. )
(a/k/a PRISON REALTY CORPORATION), )
et al,. )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

It appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties belew, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Coul‘t, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this m_j_ day Of :XUV\»Q , 2005.

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+BANI'E'IFBREEN* ja m P],`qm
UNITED STATESBI-S-T-RI-€T JUDGE

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Tiais document entered on the docket sheet in com dance
with Flule 58 and/or TQ(a) FP.CP on ___L_Q__\_B_..Q§“ ‘

Case 1:04-cV-01269-.]DB-tmp Document 14 Filed 06/09/05 Page 2 of 3 Page|D 9

APPROVED FOR ENTRY:

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

1 certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, ll and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on JuneM, 2005.

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By: (//g/MMW U.a¢§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:04-CV-01269 Was distributed by faX, rnail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

